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                                                        July 27, 2023
By ECF
Honorable Robert M. Levy
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


  Re:        Government Employees Insurance Company, et al v. Apex Medical PC, et al
             Docket No. 1:21-cv-05921(MKB) (RML)
             RR File No.: 005100-03221

Dear Magistrate Judge Levy:

As the Court is aware, we represent Plaintiffs Government Employees Insurance Co., GEICO Indemnity
Co., GEICO General Insurance Company and GEICO Casualty Co. (collectively “GEICO” or “Plaintiffs”)
in the above-referenced matter.

I write with the consent of all counsel to (i) report that Plaintiffs have reached a settlement in principle
with all Defendants – Arkam Rehman, MD and Apex Medical, PC (collectively “Defendants”), and (ii)
request that all discovery deadlines be held in abeyance pending completion of the settlement.

The settlement agreement with the Defendants is in the process of being completed and expected to be
finalized shortly. After certain conditions are met, Plaintiffs will file stipulations discontinuing the claims
against the Defendants. We will keep the Court apprised of the effectuation of this settlement.

We thank the Court for its attention to this matter.

                                                Respectfully submitted,

                                                RIVKIN RADLER LLP

                                                /s/ Joanna Rosenblatt______

                                                Joanna Rosenblatt
cc:       All Counsel (via ECF)




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